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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF COLORADO

   Civil Action No.: 1:19-cv-00455-DME-MEH

   GENE SEGALIS, Individually and
   on Behalf of All Others Similarly Situated,

                                       Plaintiff,
                           v.

   MOLSON COORS BREWING COMPANY,
   MARK R. HUNTER, and
   TRACEY I. JOUBERT,

                                      Defendants.



   Civil Action No.: 1:19-cv-00514-KLM

   LARRY SUSSBERG, Individually and On
   Behalf of All Others Similarly Situated,

                                       Plaintiff,
                           v.

   MOLSON COORS BREWING COMPANY,
   MARK R. HUNTER, and TRACEY I.
   JOUBERT,

                                      Defendants.




    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION OF
       IRON WORKERS LOCAL 580 JOINT FUNDS FOR CONSOLIDATION,
       APPOINTMENT AS LEAD PLAINTIFF AND APPROVAL OF COUNSEL
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          Movant Iron Workers Local 580 Joint Funds (“Iron Workers”) respectfully submits this

   Memorandum of Law in support of its motion, pursuant to Section 21D(a)(3) of the Securities

   Exchange Act of 1934 (the “Exchange Act”), 15 U.S.C. § 78u-4(a)(3), as amended by the Private

   Securities Litigation Reform Act of 1995 (the “PSLRA”) and Rule 42 of the Federal Rules of

   Civil Procedure, for the entry of an Order: (1) consolidating the above-captioned related actions

   (the “Related Actions”); (2) appointing Iron Workers as Lead Plaintiff on behalf of all persons

   and entities that purchased or otherwise acquired securities of Molson Coors Brewing Company

   (“Molson Coors” or the “Company”), between February 14, 2017 and February 12, 2019, both

   dates inclusive (the “Class Period”); and (3) approving Lead Plaintiff’s selection of Pomerantz

   LLP (“Pomerantz”) as Lead Counsel for the Class.

                                  PRELIMINARY STATEMENT

          Pursuant to the PSLRA, the Court is to appoint as lead plaintiff the movant who

   possesses the largest financial interest in the outcome of the action and who satisfies the

   requirements of Rule 23 of the Federal Rules of Civil Procedure.             15 U.S.C. § 78u-

   4(a)(3)(B)(iii)(I). Iron Workers, with losses of approximately $362,122 calculated on a first-in,

   first-out (“FIFO”) basis and approximately $305,861 under a last-in, first-out (“LIFO”) basis in

   connection with its Class Period purchases of Molson Coors securities, has the largest financial

   interest in the relief sought in this action. Iron Workers further satisfies the requirements of

   Rule 23 of the Federal Rules of Civil Procedure as it is an adequate representative with claims

   typical of the other Class members. Accordingly, Iron Workers respectfully submits that it

   should be appointed Lead Plaintiff.




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                                      STATEMENT OF FACTS

          Molson Coors manufactures and sells beer and other beverage products in the United

   States, Canada, Europe, and internationally. The Company is a Delaware corporation. The

   principal executive offices of the Company’s U.S. segment are located at 1801 California

   Street, Suite 4600, Denver, Colorado. During the Class Period, Molson Coors securities traded

   on the New York Stock Exchange (“NYSE”) under the ticker symbol, “TAP.”

          On October 11, 2016, Molson Coors completed its acquisition of SAB Miller plc’s 58%

   stake in MillerCoors LLC, the joint venture formed in the United States and Puerto Rico by

   both companies in 2008.

          Throughout the Class Period, Defendants made materially false and misleading

   statements regarding the Company’s business, operational and compliance policies.

   Specifically, Defendants made false and/or misleading statements and/or failed to disclose that:

   (i) Molson Coors failed to properly reconcile the outside basis deferred income tax liability

   for Molson Coors’ investment in its MillerCoors, LLC partnership; (ii) consequently, Molson

   Coors misreported net income in its consolidated financial statements for the fiscal years

   ending December 31, 2016 and December 31, 2017, resulting in an overall              downward

   revision to net income; (iii) Molson Coors lacked adequate internal controls over

   financial reporting; and (iv) as a result, Defendants’ statements about Molson Coors’

   business, operations and prospects were materially false and misleading and/or lacked a

   reasonable basis at all relevant times.

          On February 12, 2019, before the market opened, Molson Coors announced that its

   “previously issued consolidated financial statements as of and for the years ended December 31,




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   2017 and December 31, 2016 should be restated and no longer be relied upon.” The Company’s

   announcement stated, in relevant part:

          On February 8, 2019, the Audit Committee of the Board of Directors (the “Audit
          Committee”) of Molson Coors Brewing Company (the “Company”), after
          discussion with management of the Company and PricewaterhouseCoopers LLP,
          the Company’s independent registered public accounting firm, concluded that the
          Company’s previously issued consolidated financial statements as of and for the
          years ended December 31, 2017 and December 31, 2016 should be restated and
          no longer be relied upon.

          As part of preparing its 2018 financial statements, the Company identified
          errors in the accounting for income taxes related to the deferred tax liabilities
          for its partnership in MillerCoors, LLC (“MillerCoors”). Upon the closing of
          the acquisition of the remaining interest in MillerCoors (the “Acquisition”) in
          the fourth quarter of 2016 and completion of the related deferred income tax
          calculations, the Company did not reconcile the outside basis deferred income
          tax liability for the investment in the partnership to the book-tax differences in
          the underlying assets and liabilities within the partnership. As a result of
          completing this reconciliation as part of preparing its 2018 consolidated financial
          statements, the Company identified a difference related to historical financial
          statements and concluded that the previously issued 2017 and 2016 consolidated
          financial statements were misstated. Accordingly, the Company is restating its
          consolidated financial statements as of and for the year ended December 31,
          2016 to increase its deferred tax liabilities and deferred tax expense by $399.1
          million, with a corresponding decrease in net income and earnings per share.
          The Company’s consolidated financial statements as of and for the year ended
          December 31, 2017 are also being restated to reflect the revaluation of such
          deferred liabilities due to the U.S. Tax Cuts and Job Act of 2017 and to correct
          further insignificant income tax errors resulting in a decrease to deferred tax
          liabilities and deferred tax expense of $151.4 million, resulting in
          corresponding increases to the Company’s net income and earnings per share.
          These adjustments resulted in an aggregate $247.7 million increase to the
          Company’s deferred tax liabilities and corresponding decrease in retained
          earnings and total equity as of December 31, 2017.

                                            *       *     *

          In connection with the restatement, management of the Company has
          determined that a material weakness existed in the Company’s internal control
          over financial reporting as of December 31, 2018 relating to the design and
          maintenance of effective controls over the completeness and accuracy of the
          accounting for and disclosure of the income tax effects of acquired partnership
          interests. Specifically, the Company did not design appropriate controls to
          identify and reconcile deferred income taxes associated with the accounting for



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          acquired partnership interests. As a result, the Company’s Chief Executive Officer
          and Chief Financial Officer have concluded that the Company’s disclosure
          controls and procedures were not effective as of December 31, 2018, and the
          Company’s management has concluded that its internal control over financial
          reporting was not effective as of December 31, 2018.

          The Company’s management and the Audit Committee have discussed the
          matters disclosed in this Item 4.02 with the Company’s independent registered
          public accounting firm, PricewaterhouseCoopers LLP.

   (Emphases added.)

          That same day, the Company filed restated consolidated financial statements for

   the fiscal years ended December 31, 2016 and December 31, 2017 in the Company’s annual

   report for the fiscal year ending December 31, 2018 (the “2018 10-K”). The Company’s 2018

   10-K stated, in relevant part:




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          On this news, Molson Coors’s stock price fell $6.17 per share, or 9.44%, to close at

   $59.19 per share on February 12, 2019, damaging investors.

          As a result of Defendants’ wrongful acts and omissions, and the precipitous decline in the

   market value of the Company’s common shares, Plaintiff and other Class members have suffered

   significant losses and damages.




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                                               ARGUMENT

          A.      THE RELATED ACTIONS SHOULD BE CONSOLIDATED FOR ALL
                  PURPOSES

          Consolidation of related cases is appropriate, where, as here, the actions involve common

   questions of law and fact, and therefore consolidation would avoid unnecessary cost, delay and

   overlap in adjudication:

          Where actions involving a common question of law or fact are pending before the
          court, it may order a joint hearing or trial of any or all of the matters at issue in the
          actions; it may order all the actions consolidated; and it may make such order
          concerning proceedings therein as may tend to avoid unnecessary costs or delay.

   Fed. R. Civ. P. 42(a). See also Manual for Complex Litigation (Third), § 20.123 (1995).

          Consolidation is appropriate when the actions before the court involve common questions

   of law or fact. See Fed. R. Civ. P. 42 (a); Malcolm v. Nat’l Gypsum Co., 995 F.2d 346, 350 (2d

   Cir. 1993) (citing Johnson v. Celotex Corp., 899 F.2d 1281, 1284 (2d Cir. 1990)); In re Tronox,

   Inc. Sec. Litig., 262 F.R.D. 338, 344 (S.D.N.Y. 2009) (consolidating securities class actions);

   Blackmoss Invs., Inc. v. ACA Capital Holdings, Inc., 252 F.R.D. 188, 190 (S.D.N.Y. 2008)

   (same). Differences in causes of action, defendants, or the class period do not render

   consolidation inappropriate if the cases present sufficiently common questions of fact and law,

   and the differences do not outweigh the interest of judicial economy served by consolidation.

   See In re GE Sec. Litig., No. 09 Civ. 1951 (DC), 2009 U.S. Dist. LEXIS 69133, at *4–8

   (S.D.N.Y. July 29, 2009) (consolidating actions asserting different claims against different

   defendants over different class periods).

          The Related Actions at issue here clearly involve common questions of law and fact.

   Each action is brought against the Company, as well as certain officers and directors of the

   Company, in connection with violations of the federal securities laws. Accordingly, the Related

   Actions allege substantially the same wrongdoing, namely that defendants issued materially false


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   and misleading statements and omissions that artificially inflated the price of Molson Coors’s

   securities and subsequently damaged the Class when the Company’s stock price crashed as the

   truth emerged. Consolidation of the Related Actions is therefore appropriate. See Bassin v.

   Decode Genetics, Inc., 230 F.R.D. 313, 315 (S.D.N.Y. 2005) (consolidation of securities class

   actions is particularly appropriate in the context of securities class actions where the complaints

   are based on the same statements and the defendants will not be prejudiced); In re GE, 2009 U.S.

   Dist. LEXIS 69133), at *5 (“Consolidation promotes judicial convenience and avoids

   unnecessary costs to the parties.”).

          B.        IRON WORKERS SHOULD BE APPOINTED LEAD PLAINTIFF

          Iron Workers should be appointed Lead Plaintiff because it has the largest financial

   interest in the Action and otherwise meets the requirements of Rule 23. Section 21D(a)(3)(B) of

   the PSLRA sets forth procedures for the selection of lead plaintiff in class actions brought under

   the Exchange Act. The PSLRA directs courts to consider any motion to serve as lead plaintiff

   filed by class members in response to a published notice of the class action by the later of (i) 90

   days after the date of publication, or (ii) as soon as practicable after the Court decides any

   pending motion to consolidate. See 15 U.S.C. § 78u-4(a)(3)(B)(i) &(ii).

          Further, under 15 U.S.C. § 78u-4(a)(3)(B)(iii)(I), the Court is directed to consider all

   motions by plaintiffs or purported class members to appoint lead plaintiff filed in response to any

   such notice. Under this section, the Court “shall” appoint “the presumptively most adequate

   plaintiff” to serve as lead plaintiff and shall presume that plaintiff is the person or group of

   persons, that:

                    (aa) has either filed the complaint or made a motion in response to
                    a notice . . .;

                    (bb) in the determination of the Court, has the largest financial
                    interest in the relief sought by the class; and


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                  (cc) otherwise satisfies the requirements of Rule 23 of the Federal
                  Rules of Civil Procedure.

   15 U.S.C. § 78u-4(a)(3)(B)(iii)(I).

          As set forth below, Iron Workers satisfies all three of these criteria and thus is entitled to

   the presumption that it is the most adequate plaintiff of the Class and, therefore, should be

   appointed Lead Plaintiff for the Class.

                  1.      Iron Workers is Willing to Serve as Class Representative

          On February 15, 2019, counsel for plaintiff in the first of the Related Actions to be filed

   caused a notice to be published over Globe Newswire pursuant to Section 21D(a)(3)(A)(i) of the

   PSLRA, which announced that a securities class action had been filed against the defendants

   herein, and advised investors of Molson Coors securities that they had until April 16, 2019 to file

   a motion to be appointed as Lead Plaintiff (the “Notice”). See Declaration of Jeremy A.

   Lieberman in Support of Motion of the Iron Workers for Consolidation, Appointment as Lead

   Plaintiffs and Approval of Counsel (“Lieberman Decl.”), Ex. A.

          Iron Workers has filed the instant motion pursuant to the Notice, and has submitted a

   Certification attesting to its willingness to serve as a representative for the Class, and to provide

   testimony at deposition and trial, if necessary. See Lieberman Decl., Ex. B. Accordingly, Iron

   Workers satisfies the first requirement to serve as Lead Plaintiff of the Class.

                  2.      Iron Workers Has the “Largest Financial Interest”

          The PSLRA requires a court to adopt a rebuttable presumption that “the most adequate

   plaintiff . . . is the person or group of persons that . . . has the largest financial interest in the

   relief sought by the class.” 15 U.S.C. § 78u-4(a)(3)(B)(iii).

          As of the time of the filing of this motion, Iron Workers believes that it has the largest

   financial interest of any of the Lead Plaintiff movants based on the four factors articulated in the



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   seminal case Lax v. First Merch. Acceptance Corp., 1997 U.S. Dist. LEXIS 11866, at *7-*8

   (N.D. Ill. Aug. 6, 1997) (financial interest may be determined by (1) the number of shares

   purchased during the class period; (2) the number of net shares purchased during the class

   period; (3) the total net funds expended during the class period; and (4) the approximate losses

   suffered).1 The most critical among the Lax Factors is the approximate loss suffered. See, e.g., In

   re Vicuron Pharms., Inc. Sec. Litig., 225 F.R.D. 508, 511 (E.D. Pa. 2004); Janovici v. DVI, Inc.,

   No. 03-4795, 2003 U.S. Dist. LEXIS 22315, at *39 (E.D. Pa. Nov. 25, 2003); In re Am. Bus. Fin.

   Servs., Inc. Sec. Litig., 2004 U.S. Dist. LEXIS 10200, at *2–3 (E.D. Pa. Jun. 3, 2004); A.F.I.K.

   Holding SPRL v. Fass, 216 F.R.D. 567, 572 (D.N.J. 2003).

          During the Class Period, Iron Workers (1) purchased 19,590 shares of Molson Coors

   securities; (2) expended $1,549,638 on its purchases of Molson Coors securities; (3) retained

   18,434 of its Molson Coors shares; and (4) as a result of the disclosures of the fraud, suffered a

   loss of approximately $362,122 on a FIFO basis and approximately $305,861 on a LIFO basis.

   See Lieberman Decl., Ex. C. Because Iron Workers possesses the largest financial interest in the

   outcome of this litigation, it may be presumed to be the “most adequate” plaintiff. 15 U.S.C. §

   78u-4(a)(3)(B)(iii)(I)(bb).

                  3.      Iron Workers Otherwise Satisfies the Requirements of Rule 23 of the
                          Federal Rules of Civil Procedure

          Section 21D(a)(3)(B)(iii)(I)(cc) of the PSLRA further provides that, in addition to

   possessing the largest financial interest in the outcome of the litigation, a Lead Plaintiff must

   “otherwise satisfy the requirements of Rule 23 of the Federal Rules of Civil Procedure.” Rule




   1
    See also In re Olsten Corp. Sec. Litig., 3 F. Supp.2d 286, 296 (E.D.N.Y. 1998). Accord In re
   Comverse Tech., Inc., Sec. Litig., 2007 U.S. Dist. LEXIS 14878, at *22-*25 (E.D.N.Y. Mar. 2,
   2007) (collectively, the “Lax-Olsten” factors).


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   23(a) generally provides that a class action may proceed if the following four requirements are

   satisfied:

                  (1) the class is so numerous that joinder of all members is
                  impracticable, (2) there are questions of law or fact common to the
                  class, (3) the claims or defenses of the representative parties are
                  typical of the claims or defenses of the class, and (4) the
                  representative parties will fairly and adequately protect the
                  interests of the class.

           In making its determination that a Lead Plaintiff satisfies the requirements of Rule 23, the

   Court need not raise its inquiry to the level required in ruling on a motion for class certification;

   instead a prima facie showing that the movant satisfies the requirements of Rule 23 is sufficient.

   Greebel v. FTP Software, 939 F. Supp. 57, 60 (D. Mass. 1996). Moreover, “typicality and

   adequacy of representation are the only provisions relevant to a determination of lead plaintiff

   under the PSLRA.” In re Oxford Health Plans, Inc. Sec. Litig., 182 F.R.D. 42, 49 (S.D.N.Y.

   1998) (citing Gluck v. Cellstar Corp., 976 F. Supp. 542, 546 (N.D. Tex. 1997) and Fischler v.

   Amsouth Bancorporation, 176 F.R.D. 583 (M.D. Fla. 1997)); In re Olsten Corp. Sec. Litig., 3 F.

   Supp. 2d at 296.

           The typicality requirement of Fed. R. Civ. P. 23(a)(3) is satisfied where the named

   representative’s claims have the “same essential characteristics as the claims of the class at

   large.” Danis v. USN Communs., Inc., 189 F.R.D. 391, 395 (N.D. Ill. 1999). In other words,

   “the named plaintiffs’ claims [must be] typical, in common-sense terms, of the class, thus

   suggesting that the incentives of the plaintiffs are aligned with those of the class.” Beck v.

   Maximus, Inc., 457 F.3d 291, 295-96 (3d Cir. 2006) (quoting Baby Neal v. Casey, 43 F.3d 48, 55

   (3d Cir. 1994) (noting that “factual differences will not render a claim atypical if the claim arises

   from the same event or practice or course of conduct that gives rise to the claims of the class

   members, and if it is based on the same legal theory.”)).



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          The claims of Iron Workers are typical of those of the Class. Iron Workers alleges, as do

   all class members, that defendants violated the Exchange Act by making what they knew or

   should have known were false or misleading statements of material facts concerning Molson

   Coors, or omitted to state material facts necessary to make the statements they did make not

   misleading. Iron Workers, as did all members of the Class, purchased Molson Coors securities

   during the Class Period at prices artificially inflated by defendants’ misrepresentations or

   omissions and was damaged upon the disclosure of those misrepresentations and/or omissions.

   These shared claims, which are based on the same legal theory and arise from the same events

   and course of conduct as the Class claims, satisfy the typicality requirement of Rule 23(a)(3).

          The adequacy of representation requirement of Rule 23(a)(4) is satisfied where it is

   established that a representative party “will fairly and adequately protect the interests of the

   class.” The class representative must also have “sufficient interest in the outcome of the case to

   ensure vigorous advocacy.” Riordan v. Smith Barney, 113 F.R.D. 60, 64 (N.D. Ill. 1986); Beck,

   457 F.3d at 296 (emphasizing that the adequacy inquiry “‘serves to uncover conflicts of interest

   between named parties and the class they seek to represent.’”) (quoting Amchem Prods., Inc. v.

   Windsor, 521 U.S. 591, 625 (1997)).

          Iron Workers is an adequate representative for the Class.         There is no antagonism

   between the interests of Iron Workers and those of the Class, and its losses demonstrate that it

   has a sufficient interest in the outcome of this litigation. Moreover, Iron Workers has retained

   counsel highly experienced in vigorously and efficiently prosecuting securities class actions such

   as this action, and submits its choice to the Court for approval pursuant to 15 U.S.C.

   § 78u-4(a)(3)(B)(v).




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                   4.         Iron Workers Will Fairly and Adequately Represent the Interests of
                              the Class and is Not Subject to Unique Defenses

           The presumption in favor of appointing Iron Workers as Lead Plaintiff may be rebutted

   only upon proof “by a purported member of the plaintiffs’ class” that the presumptively most

   adequate plaintiff:

                   (aa) will not fairly and adequately protect the interest of the
                   class; or

                    (bb) is subject to unique defenses that render such plaintiff
                   incapable of adequately representing the class.

   15 U.S.C. § 78u-4(a)(3)(b)(iii)(I).

           The ability and desire of Iron Workers to fairly and adequately represent the Class has

   been discussed above. Iron Workers is not aware of any unique defenses defendants could raise

   that would render it inadequate to represent the Class. Accordingly, Iron Workers should be

   appointed Lead Plaintiff for the Class.

           C.      LEAD PLAINTIFF’S             SELECTION       OF    COUNSEL        SHOULD       BE
                   APPROVED

           The PSLRA vests authority in the Lead Plaintiff to select and retain lead counsel, subject

   to the approval of the Court. See 15 U.S.C. § 78u-4(a)(3)(B)(v); Osher v. Guess?, Inc., 2001

   U.S. Dist. LEXIS 6057, at *15 (C.D. Cal. Apr. 26, 2001). The Court should interfere with Lead

   Plaintiff’s selection only when necessary “to protect the interests of the class.” 15 U.S.C. § 78u-

   4(a)(3)(B)(iii)(II)(aa).

           Here, Iron Workers has selected Pomerantz as Lead Counsel.           Pomerantz is highly

   experienced in the area of securities litigation and class actions, and has successfully prosecuted

   numerous securities litigations and securities fraud class actions on behalf of investors, as

   detailed in the firm’s resume. See Lieberman Decl., Ex. D. As a result of Pomerantz’s extensive

   experience in litigation involving issues similar to those raised in the Related Actions, Iron


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   Workers’ counsel has the skill and knowledge which will enable it to prosecute the Related

   Actions effectively and expeditiously. Thus, the Court may be assured that by approving the

   selection of Lead Counsel by Iron Workers, the members of the class will receive the best legal

   representation available.

                                          CONCLUSION

          For the foregoing reasons, Iron Workers respectfully requests that the Court issue an

   Order: (1) consolidating the Related Actions; (2) appointing Iron Workers as Lead Plaintiff for

   the Class; and (3) approving Pomerantz as Lead Counsel.

   Dated: April 16, 2019
                                              POMERANTZ LLP

                                              /s/ Jeremy A. Lieberman
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